Case 4:09-cr-00021-DPJ-LRA   Document 91   Filed 04/09/10   Page 1 of 7
Case 4:09-cr-00021-DPJ-LRA   Document 91   Filed 04/09/10   Page 2 of 7
Case 4:09-cr-00021-DPJ-LRA   Document 91   Filed 04/09/10   Page 3 of 7
Case 4:09-cr-00021-DPJ-LRA   Document 91   Filed 04/09/10   Page 4 of 7
Case 4:09-cr-00021-DPJ-LRA   Document 91   Filed 04/09/10   Page 5 of 7
Case 4:09-cr-00021-DPJ-LRA   Document 91   Filed 04/09/10   Page 6 of 7
Case 4:09-cr-00021-DPJ-LRA   Document 91   Filed 04/09/10   Page 7 of 7
